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                      EXHIBIT 1B
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GEOGRAPHICAL DEFINITIONS OF ZONES

This document contains a written description of the boundaries of the proposed zones for the Economic
Loss Class. The descriptions for the zones are organized to move roughly from westernmost
geographical area within the class definition for which there is a zone to the easternmost geographical
area within the class definition for which there is a zone, beginning with Zone A, followed by Zone B, and
concluding with Zone C. Each zone is given a name which corresponds to the general geographical area
or areas it covers; these names are intended for reference purposes only. Each zone is also given a
number which indicates the type of zone and the order in which it appears in this document. The names
of streets and highways are written to correspond as closely as possible with those which appear on the
“base map” on which these zones were drawn. The base map used in the creation of the zones is the
Microsoft Bing Hybrid map.

ZONE A DEFINITIONS

A‐1, South Louisiana, Zone 1: This zone consists of two sections divided roughly in the middle by the
Vermilion Bay/Atchafalaya Bay. The western zone is bounded by the Texas/Louisiana state line (Sabine
Pass) to the west, the Gulf of Mexico to the south, and the eastern shore of Marsh Island to the east.
The northern boundary of this zone is as follows:

       Highway 82 from the eastern shore of Sabine Pass to Bayou Road
       Bayou Road from Highway 82 to Parish Road 548
       Parish Road 548 from Bayou Road to its terminus
       The line connecting the terminus of Parish Road 548 to the northern shore of Mud Lake
       The line connecting the northern shore of Mud Lake to the intersection of Highway 82 and the
        Calcasieu River
       Highway 82 to the intersection of Schooner Bayou Canal
       Southern bank of Schooner Bayou Canal from Highway 82 to Vermilion Bay
       The southern shoreline of Vermilion Bay and West Cote Blanche Bay from Schooner Bayou Canal
        to the end of Marsh Island

The eastern section of this zone is bounded by the eastern shore of East Cote Blanche Bay to the west
and the northern shore of the Gulf of Mexico to the south. The northern boundary is defined as the line
connecting the following points :

       The southern terminus of Highway 317 (St. Mary Parish)
       The southern terminus of Levee Road (Terrebonne Parish)
       The southern terminus of Bayou Dularge Road (Terrebonne Parish)
       The southern terminus of Four Point Road (Terrebonne Parish)
       The intersection of the Houma Navigation Canal and Bayou Petit (Terrebonne Parish)
       The southern terminus of Island Road (Terrebonne Parish)
       The southern terminus of Lower Highway 665 (Terrebonne Parish)
       The eastern terminus of the Jean Plaisance Canal (Lafourche Parish)

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The eastern boundary of this section is defined as follows:

       Federal levee system from Jean Plaisance Canal to southern terminus
       Up to but not including properties abutting Highway 1 from the southern terminus of the federal
        levee system until Highway 1 splits from Bayou Lafourche
       Bayou Lafourche from the split with Highway 1 to the Gulf of Mexico

A‐2, South Louisiana, Zone 2: This zone consists of two sections divided roughly by the Mississippi River
and the developed areas surrounding it (as described in Zone B‐2 in the following section). It also
includes the Chandeleur Islands off the coast of the St. Bernard Parish wetlands. The western section of
this zone has the following northern boundary:

       Southern bank of Intercoastal Waterway from Station No. 7 Road to the Hero Canal
       Southern bank of Hero Canal from Station No. 7 Road to canal/federal levee system west of
        Highway 23

The eastern boundary of the western section is as follows:

       Canal/federal levee west of Highway 23 from Hero Canal to Wilkinson Canal
       Wilkinson Canal toward Mississippi River to canal/levee west of Highway 23
       Canal/levee from Wilkinson to Deer Range Canal
       Deer Range Canal to Canal/Levee East of Hermitage Road
       Canal/Levee from Hermitage Road to Pipeline Canal
       Pipeline Canal to Highway 23 in West Pointe a la Hache
       Highway 23 from Pipeline Canal in West Pointe a la Hache to Canal/Levee in Happy Jack
        (southeast of Fosters Road)
       Canal/Levee from Happy Jack to eastern shore of Adams Bay west of Highway 23
       Eastern shore of Adams Bay/Long Bay/Hospital Bay/Yellow Cotton Bay from canal/levee to
        Spanish Pass
       Southern shoreline of Spanish Pass from eastern shore of Yellow Cotton Bay to Highway 23
       Highway 23 from Spanish Pass intersection of Venice Boat Harbor Road
       Line connecting intersection of Venice Boat Harbor Road and Pass Tante Phine
       Southern bank of Pass Tante Phine to Tiger Pass
       Eastern shore of Tiger Pass from Pass Tante Phine to the western shoreline of the Mississippi
        River
       Western Shoreline of Mississippi River through the Southwest Pass to the Gulf of Mexico

The southern boundary of the western section is as follows:

       Area just north of (but not including) Highway 1 from Highway 3090 to end of mainland
       Gulf of Mexico, south end of Grand Terre Islands, Lanaux Island, Shell Islands, Pelican Island,
        and other wetlands

The western boundary of the western section is as follows:

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       Federal levee system from Intracoastal Waterway to Bayou Lafourche
       Eastern bank of Bayou Lafourche from federal levee system to Leeville Bridge
       Areas up to (but not including) Highway 1 from Leeville Bridge to Highway 3090

The eastern portion of the zone contains the following boundaries. The section’s southern boundary is
Pass a Loutre from the Gulf of Mexico to the Mississippi River. The northern boundary of the eastern
section of this zone is as follows:

       Southern/eastern levee along Joe Brown Canal from Bertrandville to Forty Arpent Canal
       Southern/eastern levee along Forty Arpent Canal to Highway 39 east of Braithwaite Golf Course
       Highway 39 from Forty Arpent Canal to Bayou Road
       Bayou Road from Highway 39 to Highway 46
       Highway 46 from Bayou Road to the Levee in Verret
       From Levee in Verret through the Mississippi River‐Gulf Outlet (MR‐GO) to Lake Borgne west of
        Stump Bayou
       Southern shore of Lake Borgne from Stump Bayou to Isle au Pitre

The western boundary of the eastern section is as follows:

       Eastern shore of Mississippi River from Pass a Loutre to Ostrica Locks at Bayou Tortillen
       Bayou Tortillen from the Ostrica Locks to Bayou Lamoque
       Bayou Lamoque from Bayou Tortillen to Breton Sound
       Western shore of Breton Sound from Bayou Lamoque to Fucich Bayou
       Nothern bank of Fucich Bayou from Breton Sound to Back Levee Canal
       Eastern bank of Back Levee Canal from Fucich Bayou to Highway 39
       Highway 39 from Back Levee Canal to Canal/Levee in Belair east of Highway 39
       Canal/levee in Belair east of Highway 39 from Highway 39 to Joe Brown Canal

The eastern boundary of the eastern section is as follows:

       From Isle au Pitre along the western shores of Chandeleur Sound past Brush Island, Martin
        Island, Mitchell Island, Comfort Island, Deadman Island, Gardener Island to the south shore of
        the Breton Sound
       South shore of Breton Sound from Bay Denesse to the North pass of the mouth of the
        Mississippi River

The southern boundary of the eastern section is as follows:

       Northern bank of Pass a Loutre from Breton Sound to the Mississippi River

A‐3, Grand Isle: This zone consists exclusively and entirely of the island containing Grand Isle.




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A‐4, Downtown New Orleans: This zone is bounded by Calliope Street (which runs underneath the
Pontchartrain Expressway) in the south and extends to Elysian Fields Avenue in the north. The eastern
boundary is the Mississippi River. The western boundary consists of the following streets:

       St. Charles Avenue from Calliope Street to St. Joseph Street
       St. Joseph Street from St. Charles Avenue to S. Peters Street
       S. Peters Street from St. Joseph Street to Notre Dame Street
       Notre Dame Street from S. Peters Street to Convention Center Boulevard
       Convention Center Boulevard from Notre Dame Street to Poydras Street
       Poydras Street from Convention Center Boulevard to S. Peters Street
       S. Peters Street from Poydras Street to Canal Street
       Canal Street from S. Peters Street to N. Rampart Street
       Rampart Street (which becomes St. Claude Avenue) from Canal Street to Elysian Fields Avenue.

A‐5, Slidell Area: This zone begins at the intersection of Highway 90 (Chef Menteur Boulevard) at
Interstate 510 and includes all properties fronting Highway 90 until the north side of the Rigolets Pass.
The zone then broadens to include areas between Front Street (and the railroad tracks) in the west, the
Louisiana/Mississippi state line (the Pearl River) in the east, and the continuous shoreline of Lake
Pontchartrain, the Rigolets Pass, and Lake Borgne in the south. The northern boundary consists of the
following roads:

       Old Spanish Trail to Interstate 10
       Interstate 10 from Old Spanish Trail to Highway 190 East
       Highway 190 East from Interstate 10 to Highway 90
       Highway 90 from Highway 190 to the Louisiana/Mississippi state line (the Pearl River)

This zone also includes the wetlands south of the Rigolets Pass to the Mississippi River‐Gulf Outlet and
all wetlands.

A‐6, Bay St. Louis: This zone is bounded in the south by the Mississippi Sound/Lake Borgne shoreline. Its
northern boundary begins at the crossing of Interstate 10 over the Pearl River and continues along
Interstate 10 until Highway 607. It runs along Highway 607 until the intersection with Highway 90, and
continues along Highway 90 and terminates at the beginning of the bridge over Bay St. Louis, where it
meets the zone’s southern boundary. The western boundary of the zone is configured as follows:

       The Pearl River from Interstate 10 to Highway 90
       Highway 90 from Pearl River to to Lower Bay Road
       Lower Bay Road to (30.236ᵒN, ‐89.52ᵒW), at which point the boundary cuts due south to
        intersect with John’s Bayou
       John’s Bayou from point described above to Grand Plains Bayou
       Grand Plains Bayou from John’s Bayou to the Pearl River




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A‐7, Gulfport/Biloxi/Ocean Springs: This zone begins at the Highway 90 bridge on the east side of Bay St.
Louis. Its western boundary is the shoreline of Bay St. Louis south of the bridge and its southern
boundary is the shoreline of the Mississippi Sound but includes Cat Island, Ship Island, Horn Island, and
Deer Island. Its eastern boundary is Halstead Road in Ocean Springs. The northern boundary is as
follows:

       W. Beach Boulevard (Highway 90) to CSX Railroad
       CSX Railroad from Beach Boulevard to Tegarden Road
       Tegarden Road from CSX Railroad to E. Pass Road
       E. Pass Road from Tegarden Road to Lorraine Road
       Lorraine Road from E. Pass Road to Bernard Bayou
       Southern bank of Bernard Bayou from Lorraine Road to Big Lake/Back Bay of Biloxi
       Southern shore of Back Bay of Biloxi from Bernard Bayou to Highway 90
       Highway 90 from western shore of Back Bay of Biloxi to eastern shore of Back Bay of Biloxi
       Eastern shore of Back Bay of Biloxi from Highway 90 to Old Fort Bayou
       Southern shore of Old Fort Bayou from Back Bay of Biloxi to Washington Avenue
       Washington Avenue from Old Fort Bayou to Highway 90
       Highway 90 from Washington Avenue to Halstead Road

A‐8: Interstate 110 to Biloxi: This zone consists of Interstate 110 south of Interstate 10 and within one
quarter‐mile of the exit ramp on Rodriguez Street.

A‐9, Bayou LaBatre: This zone is triangular in shape and contains the area between Bayou LaBatre to
Highway 188 (Alabama Coastal Connection). It continues on Highway 188 to the bayou southwest of
Coden. Its southern boundary is the Gulf of Mexico.

A‐10, Dauphin Island: This zone consists exclusively and entirely of Dauphin Island.

A‐11, Gulf Shores/Orange Beach: This zone is bounded by the Gulf of Mexico to the south, from the
western tip of Fort Morgan State Park to the Alabama/Florida state line. It also includes the entirety of
Ono Island. Its northern boundary begins at the canal connecting Mobile Bay and Wolf Bay and
continues to Bayou la Launch, Arnica Bay, Bayou St. John, and Old River.

A‐12, Highway 59 to Gulf Shores: This zone consists of properties fronting Highway 59 from Interstate 10
to the canal connection Bon Secour Bay and Wolf Bay

A‐13, Perdido Key: This zone is bounded by the Gulf of Mexico in the south, beginning at the
Alabama/Florida state line. The western boundary is the state line situated in the Old River and Perdido
Bay. The northern boundary is as follows:

       Bayou Garcon to the point due north of the end of Corinna Street
       Corinna Street from terminus to Highway 292A (Gulf Beach Highway)
       Highway 292A from Corinna Street to Radford Boulevard
       Radford Boulevard from Highway 292A to Fuel Farm Road

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      Fuel Farm Road from Radford Boulevard to Big Lagoon
      Big Lagoon from Fuel Farm Road to its outlet to the Gulf of Mexico

A‐14, Gulf Breeze: This zone is bounded by Pensacola Bay to the west, the Santa Rosa Sound to the
south, and the eastern edge of the Tiger Point Golf Course development to the east. Its northern
boundary runs from Pensacola Bay to Highway 98, then along Highway 98 to the eastern edge of the
Tiger Point Golf Course development.

A‐15, Navarre Beach/Pensacola Beach: This zone contains the areas between the Santa Rosa Sound to
the north and the Gulf of Mexico to the south. The western boundary is the eastern edge of Fort
Pickens State Park, and the eastern boundary is the Escambia County/Santa Rosa County line.

A‐16, Okaloosa Island: This zone contains the areas between the Santa Rosa Sound to the north and the
Gulf of Mexico to the south. The western boundary is the Escambia County/Santa Rosa County line, and
the eastern boundary is East Pass, where Choctawhatchee Bay enters the Gulf of Mexico.

A‐17, Destin: This zone is bounded by the Gulf of Mexico to the south and Choctawhatchee Bay/East
Pass to the west. The eastern boundary is the Okaloosa County/Walton County line. The northern
boundary is as follows:

      Choctawhatchee Bay to Joe’s Bayou
      Joe’s Bayou from Choctawhatchee Bay to Bayview Street
      Bayview Street from Joe’s Bayou to Spring Lake Drive
      Spring Lake Drive from Bayview Street to Beach Drive
      Beach Drive from Spring Lake Drive to Highway 98
      Highway 98 from Beach Drive to Okaloosa County/Walton County line

A‐18, Walton County: This zone is bounded by the Okaloosa/Walton County line to the west, the Gulf of
Mexico to the south, and the Walton/Bay County line to the east. The northern boundary is as follows:

      Highway 98 from the Okaloosa/Walton County line to Ponce de Leon Street.
      Ponce de Leon Street. from Highway 98 to Choctawhatchee Bay
      Choctawhatchee Bay from Ponce de Leon Street to E. Hewett Road
      E. Hewett Road from Choctawhatchee Bay to Highway 98
      Highway 98 from E. Hewett Road to Walton/Bay County line

A‐19, Panama City Beach: This zone is bounded by the Walton/Bay County line to the west, East Pass
between the Gulf of Mexico and Upper Grand Lagoon to the east, and the Gulf of Mexico to the south.
Its northern boundary is as follows:

      Highway 98 (Back Beach Road) from the Walton/Bay County line to Clara Avenue
      Clara Avenue from Back Beach Road to Hutchison Boulevard
      Hutchison Boulevard from Clara Avenue to Front Beach Boulevard
      Front Beach Boulevard from Hutchison Boulevard to Highway 98

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       Highway 98 from Front Beach Boulevard to East Pass

A‐20, Bay County East of Tyndall AFB: This zone is bounded by the Gulf of Mexico to the south, Crooked
Island Beach Road to the west, and the Bay County/Gulf County line to the east. The northern boundary
is as follows:

       Highway 98 from Crooked Island Beach Road to the beginning of dirt roads immediately north of
        developed land (commonly known as the “Bear Swamp Roads”)
       “Bear Swamp Roads” from Highway 98 to northern terminus of Paradise Cove Boulevard
       Paradise Cove Boulevard from northern terminus to 15th Street
       15th Street from Paradise Cove Boulevard to County Road 386 S (also the Bay County/Gulf
        County line)

A‐21, Gulf County: This zone is bounded by the Gulf of Mexico to the south, the Bay County/Gulf County
line to the west, and the Gulf County/Franklin County line (Ochlockonee River) to the east. The northern
boundary consists of the edge of developed residential properties until Westview Boulevard/Sea Turtle
Drive, at which point the boundary becomes Highway 319. The zone also includes the entirety of St.
Joseph Peninsula surrounding St. Joseph Bay.

A‐22, Franklin County: This zone is bounded by the Gulf of Mexico to the south, the Gulf County/Franklin
County line to the west, and the Franklin County/Wakulla County line to the east. The northern
boundary is as follows:

       Highway 98 from the Gulf County/Franklin County line to Big Bend Scenic Byway (Highway 319)
       Big Bend Scenic Byway (Highway 319) from Highway 98 to the southern bank of the
        Ochlockonee River/Bay.

The zone also includes St. Vincent Island, Little St. George Island, St. George Island, Dog Island, and St.
James Island.

A‐23, Wakulla County: This zone is bounded by the Gulf of Mexico to the south, the Franklin
County/Wakulla County line to the west, the Wakulla County/Jefferson County line to the east, and
Highway 98 to the north.

A‐24, Horseshoe Beach: This zone is bounded by the Gulf of Mexico on the south and west, by the
eastern terminus of 1st Avenue at the north , and by the canal at the eastern edge of the island on the
east.

A‐25, Cedar Key: This zone consists exclusively and entirely of the island of Cedar Key.

A‐26, Clearwater/Tampa Islands: This zone consists of the entirety of the series of islands/keys off the
Gulf Coast of Florida stretching from Anclote Key in the north to Lido Key in the south.

A‐27, Sanibel/Captiva: This zone consists of the entirety of the series of islands off the Gulf Coast of
Florida stretching from Lacosta Island in the north to Sanibel Island in the south.


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A‐28: Florida Keys: This zone consists of the entirety of the series of islands off the south coast of Florida
stretching from Key West in the south/west to Key Largo in the north/east.

ZONE B DEFINITIONS

B‐1, South Louisiana 1: This zone consists of an area of southern Louisiana spanning from the
Louisiana/Texas state line to Caminada Bay. Although the zone is one contiguous polygon, this
description divides it into two parts. The first of these parts includes the larger areas moving as far east
and south as Golden Meadow, and the second includes the narrower portion of the zone south of
Golden Meadow/Bayou Lafourche. Its western boundary is the Texas/Louisiana state line.

The zone’s northern/eastern boundary is as follows:

       The southern boundary of Calcasieu Parish from the Texas/Louisiana state line until the eastern
        boundary of Calcasieu Parish intersects Interstate 10
       Interstate 10 from the Calcasieu Parish line to the Lafayette Parish line
       The Lafayette Parish line south of Interstate 10 until it intersects again with Interstate 10 on the
        east side of Lafayette Parish
       Interstate 10 from the Lafayette Parish line to Highway 1 west of Baton Rouge
       Highway 1 from Interstate 10 to the Intracoastal Waterway in Larose
       Intracoastal Waterway from Highway 1 to Station No. 7 Road/Canal and levee system
       Station No. 7 Road/canal and levee system from Intracoastal Waterway to Bayou Lafourche

Its southern boundary is as follows:

       Highway 82 from Sabine Pass to Bayou Road
       Bayou Road from Highway 82 to Parish Road 548
       Parish Road 548 from Bayou Road to its terminus
       The line connecting the terminus of Parish Road 548 to the northern shore of Mud Lake
       The line connecting the northern shore of Mud Lake to the intersection of Highway 82 and the
        Calcasieu River
       Highway 82 to Schooner Bayou Canal
       The northern bank of Schooner Bayou Canal from Highway 82 to Vermilion Bay
       The northern shoreline of Vermilion Bay and West Cote Blanche Bay from Schooner Bayou Canal
        to southern terminus of Highway 317
       The boundary continues throughout southern Louisiana east of Vermilion Bay in a line
        connecting the end of the following roads:
            o Highway 317 (St. Mary Parish)
            o Levee Road (Terrebonne Parish)
            o Bayou Dularge Road (Terrebonne Parish)
            o Four Point Road (Terrebonne Parish)
            o Mouth of Houma Navigation Canal (Terrebonne Parish)
            o Island Road (Terrebonne Parish)

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            o   Lower Highway 665 (Terrebonne Parish)
            o   Eastern terminus of Jean Plaisance Canal (Lafourche Parish)

The portions of this zone south of Golden Meadow are bounded on the west by Highway 1 until it splits
from Bayou Lafourche, and Bayou Lafourche until the Gulf of Mexico. It is bounded on the east by the
end of developed land east of Highway 1, continuing until Highway 1 crosses into Grand Isle (Caminada
Pass). The southern boundary of this portion of the zone is the Gulf of Mexico.

B‐2, South Louisiana 2: This zone consists of developed land on the east and west banks of the
Mississippi River from approximately the Belle Chasse Naval Station to the Gulf of Mexico. Its northern
boundary is Buccaneer Road on the west bank and the Perez Canal on the east bank, and the line that
connects the end of Buccanneer Road with the Perez Canal across the Mississippi River. Its southern
boundary is Southwest Pass/Pass a Loutre at the mouth of the Mississippi River. Its western boundary is
as follows:

       Bayou Barriere from Buccaneer Road to the Hero Canal
       North bank of Hero Canal from Bayou Barriere to levee west of Highway 23
       Levee west of Highway 23 from Hero Canal to Wilkinson Canal
       Western bank of Wilkinson Canal toward Mississippi River to levee west of Highway 23
       Levee west of Highway 23 from Wilkinson Canal to Deer Range Canal
       Eastern bank of Deer Range Canal to Canal/Levee East of Hermitage Road
       Northern/eastern levee from Hermitage Road to Highway 23 in West Point a la Hache
       Highway 23 from West Pointe a la Hache to levee in Happy Jack
       Levee in Happy Jack to Adams Bay Shoreline west of Highway 23
       Eastern shoreline of Adams Bay/Long Bay/Hospital Bay/Yellow Cotton Bay from levee to Spanish
        Pass
       Northern/eastern shoreline of Spanish Pass from Yellow Cotton Bay to Highway 23 Highway 23
        from Spanish Pass to intersection of Venice Boat Harbor Road
       Line connecting intersection of Venice Boat Harbor Road with Pass Tante Phine
       Northern bank of Pass Tante Phine to Tiger Pass
       Western shore of Tiger Pass from Pass Tante Phine to the western shoreline of the Mississippi
        River
       Western Shoreline of Mississippi River through the Southwest Pass to the Gulf of Mexico

The eastern boundary is as follows:

       Western bank of Joe Brown Canal from Perez Canal to Belair Canal
       Northern bank of Belair Canal from Joe Brown Canal to Highway 39
   
       Highway 39 from Belair Canal to Back Levee Canal (just east of Phoenix)
       Southern/western bank of Back Levee Canal from Highway 39 to Fucich Bayou
       Southern bank of Fucich Bayou from Back Levee Canal to western shore of Breton Sound
       western shore of Breton Sound from past Fucich Bayou to Bayou Lamoque

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       Northern bank of Bayou Lamoque from western shore of California Bay to Bayou Tortillen
       Southern bank of Bayou Tortillen from Bayou Lamoque to Ostrica Locks
       Ostrica Locks from Bayou Tortillen to eastern shore of Mississippi River
       Eastern shore of Mississippi River from Ostrica Locks to Pass a Loutre

B‐3, Downtown New Orleans: This zone is bounded by Calliope Street (which runs underneath the
Pontchartrain Expressway) to the west, Claiborne Avenue (which runs underneath Interstate 10) to the
north, and Esplanade Avenue to the east. The southern boundary is as follows:

       St. Charles Avenue from Calliope Street to St. Joseph Street
       St. Joseph Street from St. Charles Avenue to S. Peters Street
       S. Peters Street from St. Joseph Street to Notre Dame Street
       Notre Dame Street from S. Peters Street to Convention Center Boulevard
       Convention Center Boulevard from Notre Dame Street to Poydras Street
       Poydras Street from Convention Center Boulevard to S. Peters Street
       S. Peters Street from Poydras Street to Canal Street
       Canal Street from S. Peters Streetto N. Rampart Street
       Rampart Street from Canal Street to Esplanade Avenue

B‐4, Uptown New Orleans: This zone is bounded by Calliope Street (which runs underneath the
Pontchartrain Expressway) to the east, St. Charles Avenue to the north, and Walnut Street (at the edge
of Audubon Park) to the west. The southern boundary is as follows:

       Railroad tracks from Front Street/Walnut Street to River Drive
       The Mississippi River from River Drive to River Drive/East Drive
       East Drive from River Driveto Tchoupitoulas Street
       Tchoupitoulas Street from East Drive to Calliope Street

B‐5, Bucktown/Lakeshore, New Orleans: This zone is bounded by Lake Pontchartain to the north and
Bonnabel Boulevard to the west. The southern boundary is as follows:

       West Esplanade Avenue from Bonnabel Boulevard to the 17th Street Canal (Jefferson/Orleans
        Parish line)
       17th Street Canal from W. Esplanade Avenue to 38th Street
       38th Street from the 17th Street Canal to Pontchartrain Boulevard/West End Boulevard

The eastern boundary is as follows:

       Pontchartrain Boulevard/West End Boulevard from 38th Street to Hammond Highway/Robert E.
        Lee Boulevard
       Lakeshore Drive from Hammond Highway/Robert E. Lee Boulevard to beginning of harbor/boat
        slips
       Harbor/boat slips to Lake Pontchartrain


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B‐6, St. Tammany Parish: This zone is bounded by the north shore of Lake Pontchartrain to the south,
Causeway Boulevard to the west, and the Highway 11 railroad to the east. The northern boundary is as
follows:

       Monroe Street from Causeway Boulevard to Girod Street
       Girod Street from Monroe Street to Highway 190
       Highway 190 from Girod Street to Thompson Road
       Thompson Road from Highway 190 to Bayou Liberty Road
       Bayou Liberty Road to Highway 11 railroad tracks

B‐5, Battleship Parkway: This zone consists of the following roads:

       Battleship Parkway (U.S. Highway 90) from Interstate 10 near Polecat Bay to Spanish Fort
        Boulevard (U.S. Highway 31)
       Spanish Fort Boulevard (U.S. Highway 31) from Battleship Parkway to Mobile Plantation Parkway
        (Highway 181)
       Mobile Plantation Parkway (Highway 181) from Spanish Fort Boulevard to Interstate 10

B‐7, Daphne/Fairhope: This zone is bounded by Mobile Bay to the west, Spanish Fort Boulevard to the
north, Highway 98 to the east, and Highway 98 to the south.

B‐8, Gulf Breeze: This zone is bounded by the Santa Rosa Sound to the north and Highway 98 to south
and west. The eastern boundary is the line between Baltar Drive and Hickory Shores Drive, including the
eastern terminus of Sandy Bluff Drive.

B‐9, Foley Area: This zone is bounded on the north by Highway 98 from the eastern shore of Mobile Bay
to the Foley Beach Expressway. Its southern boundary is the northern bank of the Intracoastal
Waterway from Mobile Bay to the Foley Beach Expressway. Its western boundary is Mobile Bay from
the intersection of Alabama’s Coastal Connection and U.S Highway 98 to the northern bank of the
Intracoastal Waterway. Its eastern boundary is the Foley Beach Expressway from Highway 98 to the
northern bank of the Intracoastal Waterway. This zone excludes the portions of Zone A‐12 which run
through it.

B‐10, Foley Beach Expressway: This zone consists of Foley Beach Expressway from Highway 59 to
Highway 98.

B‐11, Downtown Pensacola: This zone is bounded in the south by the northern bank of Bayou Grande
from S. Navy Boulevard to the northern shore of Pensacola Bay, and by the northern shore of Pensacola
Bay from Bayou Grande to the Pensacola Bay Bridge (Highway 98). Its western boundary is S. Navy
Boulevard from Barrancas Avenue to the northern bank of Bayou Grande. Its northern boundary is as
follows:

       Barrancas Avenue from S. Navy Road to W. Garden Street
       W. Garden Street from Barrancas Avenue to N. Alcaniz Street


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       N. Alcaniz Street from E. Garden Street to E. Gregory Street
       E. Gregory Street from N. Alcaniz Avenue to the Pensacola Bay Bridge

B‐12, Highway 98 from Gulf Breeze to Fort Walton Beach: This zone consists of U.S. Highway 98 (Gulf
Breeze Parkway, Navarre Parkway, or Miracle Strip Parkway) from the eastern edge of Zone A‐14 (edge
of the Tiger Point Golf Course development) to the northern shore of Santa Rosa Sound.

B‐13, Highway 293 in Destin: This zone consists of Highway 293 from the northern shore of
Choctawhatchee Bay to Highway 98 (Emerald Coast Parkway).

B‐14, Panama City Beach: This zone is bounded on the north by Highway 98 (Back Beach Road) from
Clara Avenue to Front Beach Road. Its western boundary is Clara Avenue from Highway 98 to
Hutchinson Boulevard. Its southern boundary is as follows:

       Hutchinson Boulevard from Clara Avenue to Front Beach Road
       Front Beach Road from Hutchinson Avenue to Highway 98

B‐15, Panama City: This zone consists of two roads, as described below:

       W. Highway 98/W. 18th Street from the western shore of the Upper Grand Lagoon to Beck
        Avenue
       W. 23rd Street/E. 23rd Street from Highway 98 to N. Cove Boulevard/Martin Luther King, Jr.
        Boulevard

B‐16, Port St. Joe: This zone is bounded on the west by Monument Avenue from 1st Street to Cecil G.
Costin Boulevard. Its northern boundary is 1st Street from Monument Avenue to Woodward Avenue. Its
eastern boundary is Woodward Avenue from 1st Street to Cecil G. Costin Boulevard. It southern
boundary is Cecil G. Costin Boulevard from Monument Avenue to Woodward Avenue.

B‐17, Apalachicola: This zone is bounded on the east by the western bank of Scipio Creek/Apalachicola
River. Its northern boundary is as follows:

       Avenue M from 12th Street to Market Street
       Market street from Avenue M to marina/inlet at Scipio Creek
       Northern bank of inlet/marina to Scipio Creek

Its western boundary is as follows:

       12th Street from Avenue M to Avenue L
       Avenue L from 12th Street to 14th Street
       14th Street from Avenue L to Avenue E

Its southern boundary is as follows:

       Avenue E from 14th Street to Market Street
       Market Street from Avenue E to the eastern shore of the Apalachicola River

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ZONE C DEFINITIONS

C‐1, Galveston: This zones contains the entirety of Galveston Island and the Bolivar Peninsula/Crystal
Beach. The zone’s eastern boundary is the water passageway from the Gulf of Mexico to Rollover Bay,
located just east of N. Bauer Street.

C‐2, Port Arthur: This zone consists of the following boundaries, moving clockwise beginning at its
northernmost tip at the intersection of Highway 82 and Taylor Bayou.

       Highway 82 from the eastern bank of Taylor Bayou to the Sabine Neches Canal
       Southern bank of Sabine Neches Canal from Highway 82 to northern terminus of S. Levee Road
       S. Levee Road from southern bank of Sabine Neches Canal to the southern shore of Sabine Lake
       Southern shore of Sabine Lake/Sabine Pass from S. Levee Road to eastern terminus ofJetty Road
       Jetty Road/1st Street from eastern terminus to Quinn Street
       Quinn Street from Jetty Road to S. 8th Avenue (Route 3322)
       S. 8th Avenue (Route 3322/Highway 87) from Quinn Street to northern bank of Intracoastal
        Waterway
       Northern bank of Intracoastal Waterway from S. 8th Avenue to eastern bank of Taylor Bayou
       Eastern bank of Taylor Bayou from northern bank of Intracoastal Waterway to Highway 82

C‐3, South Louisiana: This zone consists of three parts spanning across southern Louisiana. The first
portion consists of Calcasieu Parish south of Interstate 10. The second portion consists of Lafayette
Parish south of Interstate 10.

The third and largest portion is bounded on the south/west by Highway 1 from Interstate 10 to the
Intracoastal Waterway in Larose. Its eastern boundary is as follows:

       Western/northern bank of Intracoastal Waterway from Highway 1 to the western bank of Bayou
        Barataria
       Western/northern bank of Bayou Barataria from northern bank of Intracoastal Waterway to
        Highway 3134
       Highway 3134 from northern bank of Bayou Barataria to Barataria Boulevard (Highway 45)
       Barataria Boulevard from Highway 3134 to Westbank Expressway (Highway 90)
       Westbank Expressway from Barataria Boulevard to Interstate 310
       Interstate 310 from Westbank Expressway to Interstate 10
       Interstate 10 from Interstate 310 to end of Bonnet Carret Spillway, where it meets the shore of
        Lake Pontchartrain
       Southern/western/northern shore of Lake Pontchartrain from Bonnet Carret Spillway to N.
        Causeway Boulevard on the northshore
       N. Causeway Boulevard from northern shore of Lake Pontchartrain to Monroe Street
       Monroe Street from N. Causeway Boulevard to Girod Street
       Girod Street from Monroe Street to Florida Street (Highway 190)



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The northern boundary is as follows:

       Interstate 10 from Highway 1 west of Baton Rouge to Highway 22 east of Gonzales
       Highway 22 from Interstate 10 to Causeway Boulevard, where it becomes Highway 190
       Highway 190 (Florida Street) from Highway 22 to Girod Street

C‐4, Uptown New Orleans: This zone is bounded on the west by Monticello Avenue (the
Orleans/Jefferson Parish line) from Oak Street to S. Claiborne Avenue. Its eastern boundary is as
follows:

       Canal Street from S. Broad Street to Interstate 10/S. Claiborne Avenue
       Interstate 10/S. Claiborne Avenue from Canal Street to the Pontchartrain Expressway/Calliope
        St.
       Pontchartrain Expressway/Calliope Street from Claiborne Avenue to St. Charles Avenue

Its southern boundary is as follows:

       Oak Street from Monticello Avenue to Leake Avenue
       Leake Avenue/Front Street from Oak Street to Walnut Street (western edge of Audubon Park)
       Walnut Street from Front Street to St. Charles Avenue
       St. Charles Avenue from Walnut Street to the Pontchartrain Expressway/Calliope Street

Its northern boundary is as follows:

       S. Claiborne Avenue from Monticello Avenue to S. Carrollton Avenue
       S. Carrollton Avenue from S. Claiborne Avenue to Fontainebleau Drive
       Fontainebleau Drive from S. Carrollton Avenue to Broad Street
       S. Broad Street from Fontainebleau Avenue to Canal Street

C‐5, Pearlington: This zone is situated between the Slidell Area and Bay St. Louis Zones A. Its
boundaries are Highway 90 between the Pearl River (Mississippi/Louisiana state line) and Old Lower Bay
Road to the north, the eastern bank of the Pearl River from Highway 90 to the northern bank of Campell
Inside Bayou in the west, and the northern bank of Campbell Inside Bayou to the south. Its eastern
boundary is as follows:

       Old Lower Bay Road from Highway 90 to Lower Bay Road
       Lower Bay Road from Old Lower Bay Road to (30.236ᵒN, ‐89.52ᵒW) at which point the boundary
        cuts due south to intersect with the western bank of John’s Bayou
       Western bank of John’s Bayou from line due south of (30.236ᵒN, ‐89.52ᵒW) to northern bank of
        Grand Plains Bayou
       Northern/western bank of Grand Plains Bayou from western bank of John’s Bayou to the
        northern bank of Campbell Inside Bayou




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C‐6, Bay St. Louis: This zone is bounded by Interstate 10 from Highway 607 to Interstate 110 in the
north and Highway 607 from Interstate 10 to Highway 90 in the west. Its eastern boundary is the
western boundary of the Interstate 110 Zone A. Its southern boundary is as follows:

       Highway 607 from Interstate 10 to its merger with Highway 90
       Highway 90 from Highway 607 to Everett Street/Railroad Avenue in Pass ChristianRailroad
        Avenue from Highway 90 to Tegarden Road
       Tegarden Road from Railroad Avenue to E. Pass Road
       E. Pass Road from Tegarden Road to Lorraine Road
       Lorraine Road from Pass Road to the northern shore of Big Lake/Back Bay of Biloxi
       Back Bay of Biloxi from Lorraine Road to the beginning of the Interstate 110 Zone A

C‐7, Biloxi/Pascagoula/Mobile: This zone spans three cities from Interstate 110 to Mobile Bay. Its
western boundary is the eastern boundary of the Interstate 110 Zone A. Its northern boundary is as
follows:

       Interstate 10 from the Interstate 110 Zone A 1 zone to Interstate 65
       Interstate 65 from Interstate 10 to southern bank of Chickasaw Creek
       Southern bank of Chickasaw Creek from Interstate 65 to western bank of Black Bayou
       Western bank of Black Bayou from southern bank of Chickasaw Creek to the eastern bank of the
        Mobile River
       Eastern bank of Mobile River to the western bank of the Spanish River

Its southern boundary is as follows:

       The northern shore of Back Bay of Biloxi from the Interstate 110 Zone A to Washington Avenue
       Washington Avenue from the northern shore of the Back Bay of Biloxi to Highway 90
       Highway 90 from Washington Avenue to Halstead Road
       Halstead Road from Highway 90 to the northern shore of Davis Bayou/Mississippi Sound
       Northern shore of Davis Bayou/Mississippi Sound from Halstead Road to the western bank of
        Bayou La Batre
       Western bank of Bayou La Batre from the Gulf of Mexico to Highway 188
       Highway 188 from Bayou La Batre to the eastern bank of Bayou Coden
       Eastern bank of Bayou Coden to the northern shore of the Gulf of Mexico
       Northern shore of the Gulf of Mexico from Bayou Coden to the western shore of Mobile Bay

Its eastern boundary is as follows:

       The western bank of the Spanish River from the Mobile River to the western shore of Mobile
        Bay
       The western shore of Mobile Bay from the Spanish River to the Gulf of Mexico

C‐8, Orange Beach/Pensacola: This zone spans from the Zone B‐7 and B‐8 in the west to the eastern
shores of Pensacola Bay and Escambia Bay south of Interstate 10 to the east. It is bisected by the

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Highway 59 to Gulf Shores (Zone A‐12) and by the Foley Beach Expressway north of Highway 98 (Zone B‐
10). Its northern boundary is Interstate 10 from Highway 98 to Escambia Bay. Its western boundary is
as follows:

       U.S. Highway 98/42 from Interstate 10 to Highway 98 (Alabama’s Coastal Connection)
       Highway 98 (Alabama’s Coastal Connection) from U.S. Highway 98 to the Foley Beach
        Expressway
       Foley Beach Expressway from Highway 98 to the northern bank of the Intracoastal Waterway

Its southern boundary is as follows:

       The northern shore of the Intracoastal Waterway from Mobile Bay to Wolf Bay
       The northern shores of Wolf Bay, Bayou La Launch, Amica Bay, and Perdido Bay from the
        Intracoastal Waterway to the northern bank of Bayou Garcon
        The northern bank ofBayou Garcon from Perdido Bay to (30.323ᵒN, ‐87.425ᵒW), a point due
        north of the end of Corinna Street
       Corinna Street from the line due south of (30.323ᵒN, ‐87.425ᵒW)to Highway 292A
       Highway 292A from Corinna Street to Highway 173
       Highway 173 from Highway 292A to Fuel Farm Road
       Fuel Farm Road from Highway 173 to the northern shore of Big Lagoon
       Northern shore of Big Lagoon from Fuel Farm Road to the west shore of Pensacola Bay

Its eastern boundary is as follows:

       Western shore of Escambia Bay/Pensacola Bay from Interstate 10 to Highway 98 (Pensacola Bay
        Bridge).
       Highway 98 (E. Gregory Street) from Pensacola Bay to S. Alcaniz Street
       S. Alcaniz Street from E. Gregory Street to E. Garden Street.
       E. Garden Street/W. Garden Street from E. Gregory Street to Barrancas Avenue
       Barrancas Avenue from W. Garden Street to S. Navy Boulevard
       S. Navy Boulevard from Barrancas Avenue to the northern bank of Bayou Grande
       Northern bank of Bayou Grande from S. Navy Boulevard to the western shore of Pensacola Bay
       Western shore of Pensacola Bay from Bayou Grande to the northern shore of Big Lagoon

C‐9, Gulf Breeze/Fort Walton/Niceville: This zone is bounded on the south by the northern shores of the
Santa Rosa Sound and Choctawhatchee Bay. Its western boundary is as follows:

       The green space between Baltar Drive and Hickory Shores Boulevard from the southern shore of
        East Bay to Highway 98
       Highway 98 (Gulf Breeze Parkway) from the green space to the eastern edge of the Tiger Point
        Golf Course development.
       The eastern edge of the Tiger Point Golf Course development from Highway 98 to the northern
        shore of Santa Rosa Sound


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The northern and eastern boundary is as follows:

      The southern shore of East Bay from the green space between Baltar Drive and Hickory Shores
       Boulevard (at the eastern terminus of Sandy Bluff Drive E.) to the East Bay River
      East Bay River from the East Bay to (30.429ᵒN, ‐86.807ᵒW), due north of Crescent Wood Road
      Crescent Wood Road from the point described above to Highway 98 (Navarre Parkway)
      Highway 98 from Crescent Wood Road to Cody Avenue
      Cody Avenue from Highway 98 to Independence Road
      Independence Road from Cody Avenue to S. Golf Course Road
      S. Golf Course Road from Independence Road to Heritage Road
      Heritage Road from S. Golf Course Road to Martin Luther King, Jr. Boulevard
      Martin Luther King, Jr. Boulevard from Heritage Road to Green Acres Road
      Green Acres Road from Martin Luther King, Jr. Boulevard to Highway 189 (Lewis Turner
       Boulevard)
      Highway 189 from Green Acres Road to Highway 85
      Highway 85 from Highway 189 to E. John Sims Parkway
      E. John Sims Parkway from Highway 85 to Route 285
      Route 285 (N. Partin Drive) from E. John Sims Parkway to E. College Boulevard
      E. College Boulevard from Route 285 to Forest Road
      Forest Road from E. College Boulevard to Rocky Bayou Road
      Rocky Bayou Road from Forest Road to Huntington Road
      Huntington Road from Rocky Bayou Road to the north shore of Rocky Bayou
      North shore of Rocky Bayou from Huntington Road to Highway 20
      Highway 20 from Rocky Bayou to Highway 293
      Highway 293 (White Point Road) from Highway 20 to the north shore of Choctawhatchee Bay

Zone B‐12 runs from east to west through the middle of this zone between Gulf Breeze and Fort Walton
Beach.

C‐10, Destin: This zone is bounded by the south shore of Choctawhatchee Bay on the north and
Highway 98 to the south. Its eastern boundary is Ponce de Leon Street from Choctawhatchee Bay to
Highway 98 Its western boundary is as follows:

      The eastern shore of Joe’s Bayou from Choctawhatchee Bay to Bayview Street
      Bayview Street from Joe’s Bayou to Spring Lake Drive
      Spring Lake Drive from Bayview Street to Beach Drive
      Beach Drive from Spring Lake Drive to Highway 98

This zone is bisected by Zone B‐13, which runs along Highway 293.

C‐11: Eglin AFB: This zone is bounded by Interstate 10 to the north and Highway 331 to the east. Its
western boundary consists of the eastern shores of Escambia Bay and Backwater Bay/East Bay, and its
southern boundary is as follows:

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       The northern shore of East Bay to the East Bay River
       East Bay River from East Bay to (30.429ᵒN, ‐86.807ᵒW)
       The line connecting (30.429ᵒN, ‐86.807ᵒW)to the end of Crescent Wood Road
       Crescent Wood Road to Highway 98
       Highway 98 from Crescent Wood Road to Cody Avenue
       Cody Avenue from Highway 98 to Independence Road
       Independence Road from Cody Avenue to South Golf Course Road
       South Golf Course Road from Independence Road to Heritage Road
       Heritage Road from South Golf Course Road to Martin Luther King Boulevard
       Martin Luther King Boulevard from Heritage Road to Green Acres Road
       Green Acres Road from Martin Luther King Boulevard to Highway 189
       Highway 189 from Green Acres Road to Highway 85
       Highway 85 from Highway 189 to W. John Sims Parkway
       W. John Sims Parkway/E. John Sims Parkway from Highway 85 to North Partin Drive
       North Partin Drive from Highway 85 to East College Boulevard
       East College Boulevard from North Partin Drive to Forest Road
       Forest Road from East College Boulevard to Rocky Bayou Drive
       Rocky Bayou Drive from Forest Road to Huntington Road
       Huntington Road from Rocky Bayou Drive to the north shore of Rocky Bayou
       The eastern and southern shore of Rocky Bayou from Huntington Road to Highway 20
       Highway 20 from Rocky Bayou to White Point Road (Highway 293)
       White Point Road (Highway 293) from Highway 20 to the north shore of Choctawhatchee Bay
       North shore of Choctawhatchee Bay from White Point Road to Highway 331 South

C‐12, Walton County: This zone is bounded by the south shore of Choctawhatchee Bay and Hogtown
Bayou on the north (although this boundary extends slightly into Tucker Bayou at its eastern edge) and
Highway 98 to the south. Its western boundary is E. Hewett Road from Choctawhatchee Bay to Highway
98. Its eastern boundary is Peach Creek from the Intracoastal Waterway to Highway 98.

C‐13, Panama City: This zone is bounded by the southern shore of North Bay to the north and the
northern shores of Upper Grand Lagoon and St. Andrew Bay to the south. Its eastern boundary is as
follows:

       Highway 2321 from North Bay to Nehi Road at N. Highway 231
       Nehi Road from N. Highway 231 to Highway 2315 (N. Star Avenue)
       Highway 2315 from Nehi Road to E. Highway 22
       E. Highway 22 from Highway 2315 to Callaway Bayou

Zone B‐15, consisting of W. 18th Street and W. 23rd Street, is also contained within Zone C‐13.

C‐14: Walton County to Franklin County: This zone is bounded on the west by Peach Creek and on the
east by Highway 98. Its northern boundary is as follows:


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       The Intracoastal Waterway from Peach Creek to Highway 79
       Highway 79 from Intracoastal Waterway to Highway 388
       Highway 388 from the Highway 79 to Highway 231
       Highway 231 from Highway 388 to Highway 2315
       Highway 2315 from Highway 231 to Highway 22
       Highway 22 from Highway 2315 to Lake Grove Road
       Lake Grove Road from Highway 22 to eastern terminus at the Apalachicola River
       Western bank of the Apalachicola River from Lake Grove Road to the southern edge of
        Apalachicola National Forest
       Southern edge of Apalachicola National Forest from the Apalachicola River to the western bank
        of the Ochlocknee River at point (30.333ᵒN, ‐84.594ᵒW)
       Western bank of the Ochlocknee River from point described above to Highway 319
       Highway 319 from Ochlocknee River to Highway 98

Its southern boundary is as follows:

       Highway 98 from Peach Creek to the western shore of West Bay
       The shoreline of West Bay, North Bay, Deer Point Lake, and Bayou George from Highway 98 to
        Highway 2321
       Highway 2321 from Deer Point Lake/Bayou George to Nehi Road
       Nehi Road from Highway 2321 to Highway 2315
       Highway 2315 from Nehi Road to Highway 22
       Highway 22 from Highway 2315 to St. Andrew Bay
       Shore of St. Andrew Bay from Highway 2315 to Highway 98
       Highway 98 from St. Andrew Bay to Sabre Drive
       Sabre Drive from Highway 98 to Bambi Trail
       Bambi Trail from Sabre Drive to Beacon Beach Road
       Beacon Beach Road from Sabre Drive to St. Andrew Bay
       St. Andrew Bay to Hurricane Island and Gulf of Mexico
       Gulf of Mexico from edge of Hurricane Island to western edge of Tyndall AFB Zone A
       Northern edge of Tyndall AFB Zone A, including “Bear Swamp Roads” to Highway 98/319
       Highway 98/319 from Bear Swamp Roads to 1st Street in downtown Port St. Joe
       1st Street from Highway 98 (Monument Avenue) to Woodward Avenue
       Woodward Avenue from Monument Avenue to Cecil G. Costin Boulevard
       Cecil G. Costin Boulevard from Woodward Avenue to Monument Avenue (Highway 98/319)
       Highway 98/319 from Cecil G. Costin Boulevard to 14th Street in downtown Apalachicola
       14th Street from Highway 98/319 (Avenue E) to Avenue L
       Avenue L from 14th Street to 12th Street
       12th Street from Avenue L to Avenue M
       Avenue M from 12th Street to Market Street
       Market Street from Avenue M to the inlet at the marina at Scipio Creek

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       Marina/inlet to western bank of Scipio Creek
       Western bank of Scipio Creek/Apalachicola River to Highway 98/319
       Highway 319 from Apalachicola River to Ochlockonee River

C‐15, Tyndall Air Force Base: This zone consists of the peninsula west of Highway 98 and Tyndall Air
Force Base. Its northern, western, and southern boundaries are defined by St. Andrew’s Bay. Its eastern
boundary is as follows:

       Highway 98 (Tyndall Parkway) from St. Andrew’s Bay to Sabre Drive
       Sabre Drive from Highway 98 to Bambi Trail
       Bambi Trail from Sabre Drive to Beacon Beach Road
       Beacon Beach Road from Bambi Trail to beach access road beginning at ‐83.623, 30.083
       Beach access road from point described above to northern shore of St. Andrew’s Bay

C‐16, Apalachee Bay to Holiday: This zone extends from the Wakulla/Jefferson County line to the
Pinellas/Pasco County line, with its western boundary being the Gulf of Mexico. Its eastern/northern
boundary is as follows:

       Highway 98 from the Wakulla/Jefferson County line to Highway 356 (Hampton Springs Avenue)
       Hampton Springs Avenue from Highway 98 to CR‐593
       CR‐593 from Hampton Springs Avenue to Turkey Roost Road
       Turkey Roost Road from CR‐593 to Puckett Road
       Puckett Road from Turkey Roost Road to Spring Warrior Road
       Spring Warrior Road from Puckett Road to CR‐535
       CR‐535 from Spring Warrior Road to Beach Road
       Beach Road until it becomes 2nd Street NW in Steinhatchee
       2nd Street NW from Beach Road to 1st Avenue S
       1st Avenue S from 2nd Street NW to 10th Street E/SW 875th Street
       10th Street E/SW 875th Street from 1st Avenue SW to Highway 358
       Highway 358 from SW 875th Street Street to Highway 361
       Highway 361 from Highway 358 to SW 477th Avenue
       SW 477th Avenue from Highway 361 to SW 623rd Street
       SW 623rd Street from SW 477th Avenue to SW 586th Avenue
       SW 586th Avenue from SW 623rd Street to Highway 351
       Highway 351 from SW 586th Street to SW 782nd Avenue
       SW 782nd Avenue from Highway 351 to SE 54th Street
       SE 54th Street from SW 782nd Avenue to SE 198th Street
       SE 198th Street from SE 54th Street to Highway 349
       Highway 349 from SE 198th Street to Highway 19/98
       Highway 19/98 from Highway 349 to Highway 320 (NW 115th Street)
       NW 115th Street from Highway 19/98 to NW 107th Terrace
       NW 107th Terrace from NW 115th Street to NW 102nd Place

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       NW 102nd Place from NW 107th Terrace to NW 128th Court
       NW 128th Court from NW 102nd Place to NW 90th Street
       NW 90th Street from NW 128th Court to NW Camp Azalea Road
       NW Camp Azalea Road from NW 90th Street to NW County Road 347
       NW County Road 347 from NW Camp Azalea Road Place to SR‐24
       SR‐24 from County Road 347 to SW SW 95th Avenue
       SW 95th Avenue from SR‐24 to SW 94th Terrace
       SW 94th Terrace from SR‐24 to SW Hodge Road/SW Main Line Road
       SW Main Line Road from SW 94th Terrace to Fiber Factory Road
       Fiber Factory Road from SW Main Line Road to SE 80th Street
       SE 80th Street from Fiber Factory Road to SE 25th Avenue
       SE 25th Avenue from SE 80th Street to SE 76th Lane
       SE 76th Lane from SE 25th Street to Highway 19/98
       Highway 19/98 from SE 76th Lane to Pasco/Pinellas County line

C‐17, Tampa to Marco Island: This zone is bounded by the eastern shores of the Gulf of Mexico
(excluding the islands included in Zone A), Tampa/Hillsborough Bay, and Charlotte Harbor Bay to the
west. Its northern boundary is the Pasco/Pinellas County line, and its southern boundary is the edge of
Marco Island. Its eastern boundary is as follows:

       Highway 19 from the Pasco/Pinellas County line to Ulmerton Road
       Ulmerton Road from Highway 18 to Interstate 275
       Interstate 275 from Ulmerton Road to Interstate 4
       Interstate 4 from Interstate 275 to Highway 41
       Highway 41 from Interstate 4 to Highway 951
       Highway 951 to Marco Island/Big Marco River

FEEDER ROUTES

The following road segments are included in Zone C. The zones are described in order from west to
east, grouped in the states in which they terminate.

Texas

       Highway 124 from Interstate 10 to Highway 87, and Highway 87 from Highway 124 to the
        beginning of the Bolivar Peninsula

Louisiana

       Canal Street from Claiborne Avenue to City Park Avenue
       Barataria Boulevard from the Westbank Expressway (Highway 90) to Highway 3134, and
        Highway 3134 from Barataria Boulevard to intersection with Barataria Boulevard nearest the
        Intercoastal Waterway


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         Peters Road from Westbank Expressway to Engineers Road, and Engineers Road from Peters
          Road to Belle Chasse Highway
         Belle Chasse Highway (Highway 23) from Westbank Expressway (Highway 90) to beginning of
          the South Louisiana Zone B zone
         General de Gaulle Drive from Westbank Expressway (Highway 90) to Behrman Highway, and
          Behrman Highway from General de Gaulle Drive to Highway 23
         Westbank Expressway (Highway 90) from Barataria Boulevard to the west bank of the
          Mississippi River
         Interstate 59 from Highway 98 south of Hattiesburg to Interstate 12 in Slidell

Mississippi

         Highway 49 from Highway 98 south of Hattiesburg to Interstate 10 north of Gulfport

Alabama

         Highway 98 from Interstate 59 south of Hattiesburg to Interstate 65 in Mobile
         Interstate 65 from East Old Fort Road east of Fort Deposit to Interstate 165 in Mobile
         Interstate 10 across Mobile Bay
         Highway 98 across Mobile Bay
         Highway 59 from Interstate 65 to Interstate 10
         Highway 287 (Rabun Road) from Interstate 65 to Highway 59

Florida

         Interstate 10 from west shore of Escambia Bay to Highway 231
         Highway 331 from Interstate 10 to south shore of Choctawhatchee Bay
         Highway 331 from Interstate 10 to Highway 54
         Highway 79 from Florida/Alabama state line to Highway 30A
         Highway 109/77 from Highway 231 south of Dothan to south shore of North Bay
         Highway 231 from 231/431 loop south of Dothan to Panama City buffer zone
         Highway 319 from split from Highway 61 to Highway 98




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